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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION

  DAVID MALAGESE and                                    :     Case No. 3:17-cv-00489-GNS-RSE
  GABRIELLE CHAPPELL, et al.                            :
                                                        :          Judge Gregory N. Stivers
                        Plaintiffs,                     :
  v.                                                    :                           ORDER
                                                        :
  FIFTH THIRD BANK,                                     :
                                                        :
                    Defendant.                          :
  __________________________________________

        This matter is before the Court upon Defendant Fifth Third Bank’s (“Fifth Third”)

 Unopposed Motion for an Extension to Time to File a Response to Plaintiffs, David Malagese and

 Gabrielle Chappell’s (“Plaintiffs”) Motion to Compel Discovery. The Court having reviewed the

 Motion, the Motion indicating Plaintiffs’ counsel consents to the extension, and being otherwise

 sufficiently advised, IT IS ORDERED THAT:

        (1)    Fifth Third’s Unopposed Motion for an Extension of Time to File a Response to

 Plaintiffs’ Motion to Compel Discovery is GRANTED;

        (2) Fifth Third is granted an extension of time up to and including Thursday, November

 7, 2019, in which to file a response to Plaintiffs’ Motion to Compel Discovery [D.E. 63]; and

        (3) Plaintiffs’ deadline to file a reply in further support of their Motion to Compel

 Discovery is extended up to and including Thursday, November 21, 2019.




                                                                 October 22, 2019
